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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            :
                                                    :
                                                    :
        v.                                          :       Case No.: 21-cr-382 (PLF)
                                                    :
CHRISTOPHER WARNAGIRIS,                             :
                                                    :
                                                    :
             Defendant.                             :

 GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS COUNTS
          ONE THREE OF THE SUPERSEDING INDICTMENT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits that this Court should deny Defendant Warnagiris

motion to dismiss Count Three of the Superseding Indictment for failure to state an offense and to

dismiss Count One and Three for lack of specificity (ECF No. 43).

                                 FACTUAL BACKGROUND

       Defendant is charged in a nine-count Superseding Indictment with Obstruction of Law

Enforcement During a Civil Disorder and Aiding and Abetting, in violation of 18 U.S.C. §§

231(a)(3); Obstruction of an Official Proceeding and Aiding and Abetting, in violation of 18

U.S.C. §§ 1512(c)(2) and 2; Assaulting, Resisting, or Impeding Certain Officers, in violation of

18 U.S.C. §§ 111(a)(1); Entering and Remaining in a Restricted Building or Grounds, in violation

of 18 U.S.C. § 1752(a)(1); Disorderly and Disruptive Conduct in a Restricted Building or Grounds,

in violation of 18 U.S.C. § 1752(a)(2); Engaging in Physical Violence in a Restricted Building or

Grounds, in violation of 18 U.S.C. § 1752(a)(4); Disorderly Conduct in a Capitol Building, in

violation of 40 U.S.C. § 5104(e)(2)(D); Act of Physical Violence in the Capitol Grounds or
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Buildings, in violation of 40 U.S.C. § 5104(e)(2)(F); and Parading, Demonstrating, or Picketing in

a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G).

       As stated in the statement of facts supporting the complaint, on January 6, 2021, Defendant

Warnagiris traveled from Woodbridge, Virginia to Washington, D.C. Defendant Warnagiris made

his way to the Capitol building grounds and eventually to the external East Rotunda door area.

Although United States Capitol Police (USCP) attempted to keep the growing crowd from entering

the building, at proximately 2:24 pm, Defendant Warnagiris successfully pushed himself through

the East Rotunda doors, becoming the first person to breach that specific entrance. As USCP

continued their attempts to keep people out of the building, Defendant positioned himself in the

crux of the Rotunda door and helped pull people inside.

       Defendant Warnagiris continued to pull people inside despite Capitol Police Officer A.W.

positioning himself between Defendant and the door in an attempt to close it.           Defendant

Warnagiris ignored the officer’s orders to move and instead pushed back on the officer and used

his body to keep the door open for more rioters to enter. Defendant then left area and walked

around the Capitol building for over an hour, eventually returning to the same set of doors at 3:30

pm. At approximately 3:36pm, after law enforcement had corralled rioters and were moving

people out of the building, Defendant Warnagiris was one of the very last individuals to exit the

United States Capitol Building.

                                         ARGUMENT

I.     COUNT THREE OF THE SUPERSEDING INDICTMENT STATES AN OFFENSE

       A. The Text of Section 111(a)

       Warnagiris moves to dismiss Count Three based on the contention that “a conviction under

the statute necessarily requires a finding of assault.” (ECF 43, at 2) (emphasis in original). This
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interpretation conflicts with the plain text of the statute.

        Title 18, United States Code, Section 111(a) authorizes punishment for an individual who

“forcibly assaults, resists, opposes, impedes, intimidates, or interferes with any person designated

in section 1114 of this title [i.e., a federal officer] while engaged in or on account of the

performance of official duties.” 18 U.S.C. § 111(a)(1). A misdemeanor penalty is authorized where

the individual’s act “constitute[s] only simple assault.” Id. But where the individual’s “acts involve

physical contact with the victim of that assault or the intent to commit another felony,” he faces a

term of imprisonment of “not more than 8 years.” Id. Finally, an individual who “uses a deadly or

dangerous weapon … or inflicts bodily injury” “in the commission of any acts described in

subsection (a)” faces a term of imprisonment of “not more than 20 years.” 18 U.S.C. § 111(b).

Section 111 thus “establishes three separate crimes,” namely, a misdemeanor “simple assault,” a

felony violation that involves either physical contact or the intent to commit another felony, or an

aggravated violation that involves either a dangerous weapon or results in the infliction of bodily

injury. See United States v. Siler, 734 F.3d 1290, 1296 (6th Cir. 2013).

        Section 111 plainly identifies six categories of prohibited conduct, covering anyone who

“forcibly assaults, resists, opposes, impedes, intimidates, or interferes” with a federal officer

engaged in official duties. 18 U.S.C. § 111(a)(1). By using commas between the verbs and the

disjunctive “or,” Congress made clear its intention that each category of prohibited conduct should

be separate and independent of the others. See Horne v. Flores, 557 U.S. 433, 454 (2009). And

although all six acts require the defendant to act “forcibly,” see United States v. Arrington, 309

F.3d 40, 44 (D.C. Cir. 2002), only one is “assault.” The other five prohibited acts involve behavior

that threatens federal officers or obstructs their official activities but is not necessarily “assault.”
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       Each of Section 111’s three crimes points back to these six categories. Section 111(a)’s

simple-assault clause points back to “the acts in violation of this section”; both alternatives

identified in Section 111(a)’s felony clause (physical contact 1 or felonious intent) point back to

“such acts”; and Section 111(b)’s “enhanced penalty” provision points back to “any acts described

in subsection (a).” 18 U.S.C. § 111. Because each clause references all six prohibited acts, each

necessarily punishes that full range of obstructive conduct—not assaults alone.

       B. Warnagiris’ Interpretation of Section 111(a) is Incorrect

       Warnagiris’ interpretation of Section 111(a) fails “to … give[] effect” to “every word” in

the statute. United States v. Stands Alone, 11 F.4th 532, 536 (7th Cir. 2021) (quoting Antonin

Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts 174 (2012)). As noted,

the felony clause “refers back to the original list of [six] violative acts against current or former

officials.” United States v. Briley, 770 F.3d 267, 273 (4th Cir. 2014). If assault were an essential

element of Section 111(a)’s felony clause, as Warnagiris contends here, the “remaining five verbs

[would be] superfluous.” Stands Alone, 11 F.4th at 535; see generally United Mine Workers of Am.

1974 Pension Plan v. Energy W. Mining Co., 39 F.4th 730, 738 (D.C. Cir. 2022) (“It is our duty

to give effect, if possible, to every clause and word of a statute.”) (citation omitted).

       The D.C. Circuit’s decision in United States v. Arrington, 309 F.3d 40 (D.D.C. 2002), is

instructive on Section 111(a)’s sweep. There, the court explained that “a defendant does not violate

the statute unless he forcibly assaults or forcibly resists or forcibly opposes, etc.” Id. at 44.

Arrington’s emphasis on Section 111(a)’s disjunctive formulation supports the view that the statute




1
  A felony violation of Section 111(a) predicated on a physical contact theory does, however,
require proof that the underlying act constituted assault. That interpretation is not based on the six
different verbs in Section 111(a)(1), but instead on the specification in Section 111’s penalty
provision noting that “such acts” must “involve physical contact with the victim of that assault.”
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punishes a broad range of conduct beyond assaults. Similarly, if assault were the only way Section

111(a) could be violated, one would not expect the title of the statute to include “resisting” and

“impeding” as well as “assaulting.” See 18 U.S.C. 111.

       Contrary to Warnagiris’ claim, the history and design of Section 111 confirm its application

to non-assaultive conduct. The statute’s predecessor made it an offense to “forcibly resist, oppose,

impede, intimidate, or interfere with any” designated federal official “while engaged in the

performance of his official duties, or [to] assault him on account of the performance of his official

duties.” Act of May 18, 1934, ch. 299, § 2, 48 Stat. 781 (18 U.S.C. 254 (1940)). That provision,

which contained the same six offense-conduct verbs as the current version, was designed to

“insur[e] the integrity of law enforcement pursuits.” United States v. Feola, 420 U.S. 671, 682

(1975). As the Supreme Court recognized, the provision clearly “outlawed more than assaults.” Id.

at 682 n.17; see Ladner v. United States, 358 U.S. 169, 176 (1958) (explaining that the prior statute

“ma[de] it unlawful not only to assault federal officers engaged on official duty but also forcibly

to resist, oppose, impede, intimidate or interfere with such officers,” noting that “[c]learly one may

resist, oppose, or impede the officers or interfere with the performance of their duties without

placing them in personal danger”). In Ladner v. United States, for example, the Court stated that

“the locking of the door of a building to prevent the entry of officers intending to arrest a person

within would be an act of hindrance denounced by the statute.” 358 U.S. at 176. The Court noted

that in 1948, Congress reordered the statute by placing the word “assaults” in front of the five other

verbs. Act of June 25, 1948, ch. 645, 62 Stat. 688 (“Whoever forcibly assaults, resists, opposes,

impedes, intimidates, or interferes”); see Ladner, 358 U.S. at 176 n.4. That “change in wording,”

however, “was not intended to be a substantive one.” Ladner, 358 U.S. at 176 n.4 (discussing

Reviser’s Notes). And courts therefore properly continued to uphold convictions for non-assaultive
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conduct under Section 111. See United States v. Johnson, 462 F.2d 423, 425, 429 (3d Cir. 1972)

(upholding conviction for “willfully resisting, opposing, impeding and interfering with federal

officers,” despite jury’s conclusion that defendant did not commit “assault”).

       Before 1994, Section 111 had a two-tier punishment structure: it punished a defendant who

forcibly committed actions described by any of the six verbs with up to three years of

imprisonment; but where “any such acts” involved a deadly or dangerous weapon, the maximum

sentence was ten years. 62 Stat. 688. In 1994, Congress amended the penalty structure of Section

111 to its current tripartite structure by carving out less-severe forms of the offense into their own

category. It introduced the phrase “simple assault” to encompass misdemeanor violations,

punishable by no more than a year in prison; “all other cases” would remain punishable by up to

three years; and offenses involving a dangerous or deadly weapon would remain punishable by up

to ten years, as would any act that “inflicts bodily injury.” Violent Crime Control and Law

Enforcement Act of 1994, Pub. L. No. 103-322, § 320101(a), 108 Stat. 2108; see Federal Judiciary

Protection Act of 2002, Pub. L. No. 107-273, Div. C, Tit. I, § 11008(b), 116 Stat. 1818 (increasing

second- and third-tier penalties). In so doing, however, Congress gave no indication that it intended

to cut back on the statute’s substantive reach by eliminating non-assaultive conduct from the

statute’s scope.

       Congress’s 2008 amendment of the statute specifically limited the second tier to cases

involving physical contact or felonious intent by striking the phrase “in all other cases” from

Section 111(a) and inserting “where such acts involve physical contact with the victim of that

assault or the intent to commit another felony.” Court Security Improvement Act of 2007, Pub. L.

No. 110-177, § 208(b), 121 Stat. 2538. In doing so, Congress necessarily understood the language

of the first-tier misdemeanor provision to encompass non-assaultive conduct—like resisting
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arrest—that does not involve physical contact or felonious intent. Otherwise, such conduct would

not be covered by the statute at all, “rip[ping] a big hole in the statutory scheme” and “leav[ing]

those officials without protection for the carrying out of federal functions.” Briley, 770 F.3d at

274; see United States v. Williams, 602 F.3d 313, 317 (5th Cir. 2010) (“The recent change in the

statutory language … also supports the conclusion that § 111(a)(1) prohibits more than assault,

simple or otherwise.”).

       Thus, for almost a century, Congress has protected federal officials in the performance of

their duties by criminalizing six categories of forcibly obstructive conduct. Although over time it

has altered the punishment according to the severity of the defendant’s behavior—eventually

settling on the current three-tier punishment structure—at no point has Congress altered the six

basic categories of forcible conduct covered by the statute. Section 111(a) therefore continues to

apply to any defendant who forcibly “resists, opposes, impedes, intimidates, or interferes with” a

federal officer, whether or not his conduct also constitutes assault. 18 U.S.C. § 111(a); see Ladner,

358 U.S. at 176 n.4. 2




2
  Because the wording of Section 111(a) is clear, Warnagiris’ reliance on the rule of lenity is
inapposite. The rule of lenity does not come into play when a law merely contains some degree of
ambiguity or is difficult to decipher. The rule of lenity “only applies if, after considering text,
structure, history, and purpose, there remains a grievous ambiguity or uncertainty in the statute,
such that the Court must simply guess as to what Congress intended.” Barber v. Thomas, 560 U.S.
474, 488 (2010) (citation and internal quotation marks omitted); Muscarello v. United States, 524
U.S. 125, 138-39 (1998); Young v. United States, 943 F.3d 460, 464 (D.C. Cir. 2019). In short,
some ambiguity is insufficient to trigger the rule of lenity; instead, a court must find “grievous
ambiguity” that would otherwise compel guesswork. See Ocasio v. United States, 578 U.S. 282,
295 n.8 (2016) (internal quotation marks omitted). “Properly applied, the rule of lenity therefore
rarely if ever plays a role because, as in other contexts, ‘hard interpretive conundrums, even
relating to complex rules, can often be solved.’” Wooden v. United States, 142 S. Ct. 1063, 1075
(2022) (Kavanaugh, J., concurring) (quoting Kisor v. Wilkie, 139 S. Ct. 2400, 2415 (2019)).
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        Warnagiris contends that circuit courts disagree on whether a conviction under 18 U.S.C.

§ 111(a) requires proof of an assault (ECF No. 43, at 2). But he overstates the degree of

disagreement and undercounts the number of decisions rejecting his argument.

        In United States v. Chapman, 528 F.3d 1215 (9th Cir. 2008), the Ninth Circuit considered

the prior version of the statute that treated “simple assault” as a misdemeanor and “all other cases”

as felonies. Id. at 1218 (citations omitted). In deeming the provision to require the defendant to

have committed “some form of assault,” id. at 1221, the court explicitly considered but rejected a

distinction based on the presence of physical contact. “If Congress had intended to prohibit both

assaultive and non-assaultive conduct and intended to distinguish between misdemeanors and

felonies based solely on physical contact,” the court stated, “it easily could have said so.” Ibid.

Congress now has spoken. As discussed, in 2008, Congress replaced the second punishment tier’s

“all other cases” language with language specifying that it applies “where such acts involve

physical contact … or the intent to commit another felony.” See p. 6, supra. In so doing, Congress

abrogated the reasoning in Chapman. See Williams, 602 F.3d at 317 (“Congress addressed the

ambiguity identified by the Ninth Circuit by explicitly drawing the misdemeanor/felony line at

physical contact.”). 3

        Even before the 2008 amendment, the Sixth Circuit recognized that common-law assault

is not invariably an element of a Section 111 offense. See United States v. Gagnon, 553 F.3d 1021,

1024-1027 (6th Cir. 2009). Since the 2008 amendment, five other courts of appeals have addressed

the interpretation of Section 111(a). In United States v. Williams, the Fifth Circuit recognized that




3
 Since the 2008 amendments, the Ninth Circuit has addressed Section 111(a)’s revised language
only in dicta, see United States v. Rivera-Alonzo, 584 F.3d 829, 833 n.2 (9th Cir. 2009), and the
proper interpretation of the current version of Section 111(a) presumably remains open in that
court.
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“a misdemeanor conviction under § 111(a)(1) does not require underlying assaultive conduct,”

explaining that this reading “avoided rendering superfluous the other five forms of conduct

[besides assault] proscribed by § 111(a)(1).” 602 F.3d at 317-318. In United States v. Briley, the

Fourth Circuit likewise rejected the contention that “assault is a required element” for either a

misdemeanor or felony conviction under Section 111(a)(1). 770 F.3d at 273-274 (noting that

defendant’s contrary reading “renders a slew of verbs in § 111(a) largely surplusage” and “wanders

too far from congressional intent”). And most recently, in United States v. Stands Alone, the

Seventh Circuit held that “assault is not an essential element of every § 111 offense.” 11 F.4th at

536.

       The Second Circuit has suggested a different view of offenses punishable under Section

111(a). In United States v. Davis, 690 F.3d 127 (2d Cir. 2012), the court concluded that “for a

defendant to be guilty of the misdemeanor of resisting arrest under Section 111(a), he necessarily

must have committed common law simple assault.” Id. at 135; see id. at 134. But the Second

Circuit expressly cabined this holding to Section 111(a)’s misdemeanor clause. It stated that “the

statute’s five non-assault acts would appear to be criminally prohibited by the felony clause ‘where

such acts involve … the intent to commit another felony,’” id. at 136-137—precisely the

construction that the government advances in this case.

       Only the Tenth Circuit has reached a contrary conclusion. In United States v. Wolfname,

835 F.3d 1214 (10th Cir. 2016), the court viewed a published circuit decision regarding the pre-

2008 statute as compelling the conclusion that “assault is necessarily an element of any § 111(a)(1)

conviction,” id. at 1218, including a conviction under Section 111(a)’s felony clause, id. at 1219.

The reasoning in Wolfname, however, is spare and unpersuasive.
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       At bottom, the present five-to-one circuit tally overwhelmingly supports the position that

a defendant is subject to conviction under Section 111(a)’s felony clause if he committed any one

of the six prohibited acts with the intent to commit another felony. Thus, if a defendant assaulted,

resisted, opposed, impeded, intimidated, or interfered with a federal law enforcement officer and

harbored the intent to commit another felony, he is guilty of this offense.

       This interpretation has also been adopted in this District. In announcing his verdict in

United States v. McCaughey, et al., No. 21-cr-40-TNM, Judge McFadden rejected the reasoning

of Wolfname, and adopted the interpretation of the Fourth and Seventh Circuits in Briley and

Stands Alone, finding:

       Section 111(a) explicitly refers to the acts in violation of Subsection (a)(1). To be
       sure, those acts encompass forcible assaults against officers. But they also cover
       forcible opposition, interference with and impeding officers.
               And the statute says a felony accrues when such acts involve the intent to
       commit another felony. The natural implication of this language means that forceful
       interference with officers, for example, with the intent to commit another felony is
       a felony violation of the statute. The phrase “such acts” refers to all six verbs in
       Section 111(a)(1), and those verbs go beyond physical assaults.

McCaughey Sentencing Transcript, at 12. Judge McFadden then found that the McCaughey

defendants were guilty of felony violations of Section 111(a) because they committed their

violations with the intent to commit civil disorder in violation of Section 231. Id. at 28-29, 36.

       Similarly, in United States v. Riley Williams, 21-cr-618-ABJ, Judge Berman Jackson

instructed a jury that it could find the defendant guilty of violating Section 111(a) if “the defendant

resisted, opposed, intimidated, or interfered” with a federal officer, with no reference to assault.

Williams, No. 21-cr-618, ECF. No. 122, at 32.
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        C. Even if Warnagiris’ Interpretation of Section 111(a) Were Correct, Dismissal of
        Count Three is Not Appropriate

        Warnagiris is correct that, in general, dismissal of an indictment is appropriate when it fails

to recite an essential element of the offense. But that is not what Warnagiris claims in this case.

Warnagiris admits that Count Three charges him with, among other things, assault. Warnagiris’

complaint is that Count Three encompasses conduct other than assault which is allegedly not

criminalized by Section 111(a). In such a situation, the appropriate remedy would be to move to

strike the surplusage under Federal Rule of Criminal Procedure 7(d), not dismissal of the entire

count. See United States v. Goodman, 285 F.2d 378, 379 (5th Cir. 1960). In the alternative, a court

may avoid any potential prejudice by not giving the indictment to the jury and specifically

instructing the jury that the indictment is not evidence. United States v. Williams, 445 F.3d 724,

734 (4th Cir. 2006).

        Even if the Court were to conclude that the only way to violate Section 111(a) is by an

assault, dismissal of Count Two is not appropriate because the government could prove at trial that

Warnagiris’ conduct violated the statute. Cases involving successful challenges by defendants

concerning whether their conduct—and not merely the allegations against them—falls within the

scope of the charged statute generally arise not under Rule 12 but following trials that establish

the evidentiary record necessary to determine precisely what the defendant’s conduct entailed.

See, e.g., Marinello v. United States, 138 S. Ct. 1101, 1105 (2018) (considering scope of 26 U.S.C.

§ 7212(a) following defendant’s conviction at trial); Yates v. United States, 574 U.S. 528, 534-35

(D.C. Cir. 2019) (plurality opinion) (considering scope of the phrase “tangible object” in 18 U.S.C.

§ 1519 following defendant’s conviction at trial); United States v. Aguilar, 515 U.S. 593, 597

(1995) (considering scope of omnibus clause in 18 U.S.C. § 1503(a) following the defendant’s

conviction at trial).
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       It is clear why that is so. Even assuming Warnagiris’ interpretation of Section 111(a) were

correct, the Court cannot determine whether Warnagiris’ conduct violates the statute until after a

trial, at which the government is not limited to the indictment’s allegations. And at trial, the

government could prove that Warnagiris’ forceful pushing and pulling of the officer’s body against

the door was an assault as that term is defined under the law.

II.    COUNTS ONE AND TWO DO NOT LACK SPECIFICITY

       Warnagiris complains that Counts One and Three do not list “facts of his alleged

misconduct.” (ECF No. 43 at 15). This complaint misunderstands the purpose of an indictment

and the low bar an indictment must clear to satisfy the federal rules and Constitution. As the D.C.

Circuit explained in United States v. Haldeman, 559 F.2d 31 (D.C. Cir. 1976), “[a]lthough an

indictment must – in order to fulfill constitutional requirements – apprise the defendants of the

essential elements of the offense with which they are charged, neither the Constitution, the Federal

Rules of Criminal Procedure, nor any other authority suggests that an indictment must put the

defendants on notice as to every means by which the prosecution hopes to prove that the crime

was committed.” Id. at 124. Indeed, “the validity of an indictment ‘is not a question of whether it

could have been more definite and certain.’” United States v. Verrusio, 762 F.3d 1, 13 (D.C. Cir.

2014) (quoting United States v. Debrow, 346 U.S. 374, 378 (1953)). “While detailed allegations

might well have been required under common-law pleading rules, . . . they surely are not

contemplated by Rule 7(c)(1), which provides that an indictment ‘shall be a plain, concise, and

definite written statement of the essential facts constituting the offense charged.’” United States v.

Resendiz-Ponce, 549 U.S. 102, 110 (2007). As a mere notice pleading, an indictment is sufficient

if it “contains the elements of the offense charged and fairly informs a defendant of the charge

against which he must defend.” Id. at 108; Haldeman, 559 F.2d at 123 (“The validity of alleging
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the elements of an offense in the language of the statute is, of course, well established.”). Only in

the rare case in which “guilt depends so crucially upon . . . a specific identification of fact” not

included in the statutory language will an indictment that restates the statute’s language be

insufficient. Haldeman, 559 F.2d at 125 (quoting Russell v. United States, 369 U.S. 749, 764

(1962)).

       Applying these principles, judges in this District have upheld the sufficiency of indictments

far less specific than the Defendant’s indictment. For example, in United States v. Apodaca, 275

F. Supp. 3d 123 (D.D.C. 2017), the defendants were charged with offenses under 18 U.S.C. §

924(c). The indictment provided only “general detail as to the places where the offenses were

committed: namely, Mexico and the United States.” Id. at 154. As to the “when” of the offenses,

the indictments alleged that the offenses had occurred over a two- and nine-year period. Id. Finally,

the indictments “d[id] not specify a particular weapon that was possessed,” or “specify whether

the firearms were ‘used, carried or brandished’” under the statute. Id. Nonetheless, the indictments

were sufficient. Id. at 153-54.

       All the elements of each offense are properly alleged in the indictment, which by itself

identifies the criminal conduct with which he is charged. And the indictment provides sufficient

information to fairly inform him of those offenses. Warnagiris knows the exact day on which the

alleged crimes occurred: January 6, 2021, which is alleged in both counts. (ECF No. 25, at 1-2).

Defendant knows that all charged conduct occurred in this District, from the indictment’s

allegation. Id. Counts One and Three relate specifically to an existing civil disorder and to a law

enforcement officer engaged in the performance of official duties. Id. And the statutes charged are

not so unusually vague that they require allegations beyond the elements of the offenses.
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       Warnagiris complains that the indictment does not explain “what about Warnagiris’

conduct was unlawful” and “in what manner did he commit the charged offenses” (ECF No. 43,

at 9). But this “complaint seems to result . . . from a general misunderstanding of the purpose of

the indictment and, especially, from an inflated notion of what must be included therein.”

Haldeman, 559 F.2d at 124. As the D.C. Circuit concisely explained in rejecting an identical

argument in Verrusio:

       Verrusio contends that Count Two of the indictment failed to allege an official act
       because it failed to say “how Mr. Verrusio was going to use his position” to help
       United Rentals . . . . The indictment certainly need not allege precisely how
       Verrusio contemplated [committing the crime]. Would he do it by himself or ask
       someone else to do it? Would that someone else be Colonel Mustard or Professor
       Plum? With a candlestick or a rope, in the library or the study? Answering those
       questions is not required at the indictment stage.

762 F.3d at 14–15; see also United States v. Williamson, 903 F.3d 124, 131 (D.C. Cir. 2018)

(affirming denial of a motion to dismiss a count charging the defendant with making a threat

against a federal law enforcement officer “with intent to retaliate against such . . . officer on

account of the performance of official duties,” 18 U.S.C. § 115(a)(1)(B), because the “statute

speaks in terms of a threat made ‘on account of the performance of official duties,’ not to draw

attention to a particular official duty, but instead to assure that the threat generally relates to the

officer’s performance of official duties rather than to a personal dispute having nothing to do with

the officer’s job functions”). The Defendant’s specificity argument fails.

       Warnagiris relies on United States v. Hillie, 227 F. Supp. 3d 57 (D.D.C. 2017), to argue

that Counts One and Three are deficient. But the challenged indictment in Hillie only broadly

stated the date of the offenses as “periods of time that span two to three years,” the location of the

offenses as “the District of Columbia,” and was “devoid of any facts regarding the circumstances

of Hillie’s behavior” that led to the charges. Id. at 71-72. Indeed, the court in Hillie found it
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especially problematic that the government charged violations of the same statute in overlapping,

multi-year periods, such that “one cannot tell whether the charges relate to distinguishable or

separate offenses . . . and, indeed, it is not clear that these counts even reference different acts on

the Defendant’s part.” Id. at 73. Here, there is no such problem. As noted above, the superseding

indictment tracks the statutes, specifies the date of the offenses (“January 6, 2021”), the district in

which they occurred, and the victims (“a law enforcement officer” and “an officer and employee

of the United States”). See Resendiz-Ponce, 549 U.S. at 108 (2007) (upholding sufficiency of

indictment that echoed statute while specifying time and place of the offense and identity of the

threatened officer); Williamson, 903 F.3d at 131 (same). Warnagiris is in no way uncertain about

what conduct “allegedly constitut[es] the offense.” Hillie, 2127 F. Supp. 3d at 76. And he is in no

way unable to prepare a defense or invoke double jeopardy if he were prosecuted again for the

same conduct.

       Warnagiris’ claim that he is unclear as to “what exactly is the defense defending here”

(ECF No. 43, at 9) fails. Warnagiris has been provided with extensive discovery, including video

footage of his conduct at the Capitol on January 6. He thus cannot claim that he is, for example,

unable to determine what acts form the basis for the charges. The answer is apparent from the

discovery.

       Judge Hogan rejected these same arguments in United States v. Sargent, No. 21-cr-258,

ECF No. 50. Sargent’s indictment alleged violations of Section 111(a) and Section 231(a)(3) using

identical language to that in Warnagiris’ Superseding Indictment. Sargent moved to dismiss,

arguing that the indictment language lacked necessary factual detail. As for the Section 231(a)(3)

charge, Judge Hogan found this language “fairly informs the defendant of the charge against which

he must defend” and these allegations were “detailed enough that, if proven, a jury could find that
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the defendant committed Civil Disorder as charged” Sargent, ECF No. 50, at 5-7. As for the

Section 111(a) charge, Judge Hogan found this language “contains all facts necessary for the jury

to find defendant violated 18 U.S.C. § 111(a)(1).” Id. at 13.

       As for Defendant’s argument that the indictment must specify the underlying felony on

which Count Three rests, Judge Hogan’s remarked that “neither Rule 7(c)(1) nor the Constitution

require the government to explicitly identify in the indictment the felony on which Count Two

rests.” Id. at 14. As Judge Hogan stated the “government is free to seek an indictment on two

theories and pursue one or both at trial.” Id. Defendant is charged with violating 18 U.S.C. §§

231(a)(3) and §§ 1512(c)(2) and 2. The government can proceed, at trial, under the theory that

both, or either, are the underlying felonies on which Count Three rests.

       Warnagiris relies heavily on United States v. Pugh, No. 1:21-cr-00073-TFM, 2021 U.S.

Dist. LEXIS 177266 (S.D. Ala. May 13, 2021), which stated, in dicta, that it would have found an

indictment insufficient had the issue not been rendered moot by the return of a superseding

indictment. Id. at *6-7. This reliance is misplaced because Pugh is inconsistent with the

Constitution and the Federal Rules of Criminal Procedure.

       Similar to the indictment here, the indictment in Pugh tracked the statutory language in

Section 231. Id. at *26-27. Nonetheless the court in Pugh found that indictment insufficient

because it alleged only that the defendant “did something” to violate the statute “at some

unspecified place and generalized range of days/time.” Id. at *28.

       The unpublished, out-of-circuit dicta in Pugh is incorrect in multiple respects. First, it

inaccurately describes the indictment’s Section 231(a)(3) allegation—an allegation that closely

parallels the Section 231(a)(3) charge found in Count One in this case. For example, the Pugh

court’s suggestion that the oft-used phrase “on or about” “expands” the allegation to encompass a
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“generalized range of days/time” finds no support in law or common sense. Cf. United States v.

Resendiz-Ponce, 549 U.S. 102, 105, 108-11 (2007) (finding sufficient an indictment that tracked

the relevant statutory language and used the phrase “on or about”). Similarly, no case that the Pugh

court cited (or of which the government is aware) has concluded that an indictment’s sole

geographic reference to the judicial district in which the crime allegedly amounts to an insufficient

“unspecified place.” Nor did the original indictment in Pugh (or Count One here) merely allege

that Pugh “did something”; it instead alleged that she committed or attempted to commit “an act

to obstruct, impede, [or] interfere with” a law enforcement engaged in official duties during a civil

disorder, which in turn adversely affected commerce. Pugh 2021 U.S. Dist LEXIS 177266 at *26-

27; cf. Count One (making a similar allegation). Section 231(a)(3)’s statutory language alone

incorporates considerable factual specificity.

       Second, the decision in Pugh demands more than the Constitution and Rule 7 of the Federal

Rules of Criminal Procedure require. As discussed above, an allegation is generally sufficient if it

“contains the elements of the offense charged and fairly informs the defendant of the charge against

which he must defend.” Hamling, 418 U.S. at 117. Thus, the Supreme Court in Resendiz-Ponce

concluded that “it was enough” for an indictment to “point to the relevant criminal statute”—an

illegal re-entry offense—and allege that “on or about” a certain date, the defendant attempted to

enter the United States near a certain location in the District of Arizona. 549 U.S. at 108 (cleaned

up). Similarly, the D.C. Circuit upheld as sufficient an indictment alleging a threat against a federal

officer that “echoe[d] the operative statutory text while also specifying the time and place of the

offense.” United States v. Williamson, 903 F.3d 124, 130 (D.C. Cir. 2018). Yet the Pugh court

faulted the Section 231(a)(3) allegation in the original indictment because it lacked additional

specific information not required under the Constitution or Rule 7. See Pugh, 2021 U.S. Dist
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LEXIS 177266 at *28 (noting the absence of “information” that “establishe[d]” (1) that a civil

disorder existed at the time of the defendant’s conduct, (2) the way in which the civil disorder

adversely affected commerce; (3) that law enforcement officers were lawfully responding to the

civil disorder; and (4) the “conduct or some other means to relay exactly what Pugh allegedly did”)

(emphasis added).

        Although some cases involve a crime “that must be charged with greater specificity,”

Resendiz-Ponce, 549 U.S. at 190, this is not one of them. The paradigmatic example comes from

Russell v. United States, 369 U.S. 759 (1962), where the defendant was charged under a statute

that makes it a crime for a witness called before a congressional committee to refuse to answer any

question “pertinent to the question under inquiry.” 2 U.S.C. § 192. The indictment’s failure in

Russell to identify the subject of the congressional hearing rendered it insufficient because “guilt”

under that statute “depend[ed] so crucially upon such a specific identification of fact.” Russell, 369

U.S. at 764. That feature is not present here because guilt under Section 231(a)(3)—or under any

of the other charges that the Defendant here faces—does not depend on any such “specific

identification of fact.” See Resendiz-Ponce, 549 U.S. at 110 (not applying Russell to the illegal re-

entry statute at issue in that case because guilt did not turn upon “a specific identification of fact”);

Williamson, 903 F.3d at 131 (not applying Russell to statute criminalizing threats against federal

officers); see also United States v. Apodaca, 275 F. Supp. 3d 123, 153 n.17, 154-56 (D.D.C. 2017)

(not applying Russell to statute criminalizing use of firearms in connection with drug trafficking

crimes). The Pugh court’s reasoning, if accepted, would require the approach in Russell for every

indictment.

        Third, the principal case on which the Pugh decision relies—United States v. Johnson, 981

F.3d 1171 (11th Cir. 2020)—is inapposite here, as it was in Pugh itself. Johnson considered the
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sufficiency of a count charging unlawful possession of a firearm by a felon, in violation of 18

U.S.C. § 922(g), following the Supreme Court’s decision in Rehaif v. United States, 139 S. Ct.

2191, 2194 (2019), which held that Section 922(g)’s “knowingly” mens rea encompassed a

defendant’s knowledge of any status that made it unlawful for him to possess a firearm. Rehaif,

139 S. Ct. at 2194. The indictment at issue in Johnson tracked the statutory language but failed to

allege that Johnson knew that he was a domestic-violence misdemeanant—which disqualified him

from legally possessing a firearm. Johnson, 981 F.3d at 1179. The indictment therefore failed to

“set forth all the elements necessary to constitute the offense intended to be punished.” Id. (quoting

Hamling, 418 U.S. at 117) (emphasis added). The deficiency in Johnson—the indictment’s failure

to include an offense element—is not presented here (or in Pugh). Warnagiris complains not that

the indictment omits a necessary element of any offense but that the indictment should include

more factual detail. Nothing in Johnson supports that claim.

       Finally, the court in Pugh failed to consider the proper channel to enable a defendant to

obtain the information he seeks: a bill of particulars which “can be used to ensure that the charges

brought against a defendant are stated with enough precision to allow the defendant to understand

the charges, to prepare a defense, and perhaps also to be protected against retrial on the same

charges.” United States v. Butler, 822 F.2d 1191, 1193 (D.C. Cir. 1987). To be sure, a “bill of

particulars cannot save an invalid indictment.” Russell, 369 U.S. at 770. But a valid indictment—

such as the indictment in this case—“can be clarified through a bill of particulars.” United States

v. Hillie, 227 F. Supp. 57, 81 (D.D.C. 2017); cf. United States v. Mostofsky, No. CR 21-138 (JEB),

2021 WL 3168501, at *4 (D.D.C. July 27, 2021) (ordering a bill of particulars for a count alleging

a violation of Section 231(a)(3)).
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       Notably, in rejecting Sargent’s motion to dismiss, Judge Hogan specifically chose not to

follow Pugh, and instead, found the reasoning of United States v. Phomma, No. 20-CR-465-JO,

2021 WL 4199961 (D. Or. Sept. 15, 2021) more instructive. In Phomma, the district court rejected

a sufficiency challenge to an indictment that, as here, closely mirrored the language of Section

231(a)(1). As in this case, the Phomma indictment alleged that the offense was committed on or

about a specific date (there, August 26, 2020), and that the offense was committed in a specific

district (there, the District of Oregon). Phomma, 2021 U.S. Dist. LEXIS 175489 at *18. The court

found that although the indictment “[did] not allege the specific facts of the defendant’s conduct,”

it “track[ed] the wording of the statute.” Id. at *20. This was enough for the indictment to survive

a sufficiency challenge because that statutory wording “fully, directly, and expressly, without any

uncertainty or ambiguity, set forth all the elements necessary to constitute the offence intended to

be punished.” Id. (quoting Hamling v. United States, 418 U.S. 87, 117 (1974)). Indeed, as the court

noted, “bare-bones” charging instruments, which merely recite the statutory language, are

“common” and “entirely permissible” in such circumstances. Id. (citing United States v. Woodruff,

50 F.3d 673, 676 (9th Cir. 1995)).
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                                     CONCLUSION

       For the reasons stated above, the Defendant’s motion to dismiss Counts One and Three

should be denied.

                                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       On this 9th day of January, a copy of the foregoing was served on counsel of record for
the Defendant via the Court’s Electronic Filing System.


                                     By:    /s/ Rebekah Lederer
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